     Case 4:24-cv-00897      Document 59      Filed on 01/23/25 in TXSD       Page 1 of 11
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                     January 23, 2025
                     IN THE UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

JOANNA BURKE,                                  §
     Plaintiff,                                §
                                               §
v.                                             §
                                               §           Civil Action No. 4:24-CV-0897
                                               §
PHH MORTGAGE CORPORATION,                      §
    Defendant.                                 §

                    MEMORANDUM AND RECOMMENDATION

          Plaintiff, a veteran litigant proceeding pro se, initiated this case in state court

on December 21, 2023, as part of her approximately 14-year effort to thwart

foreclosure on residential property located in Kingwood, Texas (Property).1 ECF 1-

4; See also ECF 18, ECF 33-3 at 36-37. Before the Court is PHH Mortgage

Corporation’s Second Motion to Declare Plaintiff Joanna Burke as a Vexatious

Litigant. ECF 28. The Court recommends PHH’s Motion be GRANTED.

     I.      Procedural Background

          The procedural background of this case is extensive and has been set forth by

multiple judges in multiple cases, most recently by this Court in its Memorandum

and Recommendation recommending that PHH’s Motion for Summary Judgment be



1
 The District Judge referred this case to the undersigned Magistrate Judge pursuant to 28 U.S.C.
§ 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the Civil Justice Reform Act,
and Federal Rule of Civil Procedure 72. ECF 26.
  Case 4:24-cv-00897    Document 59    Filed on 01/23/25 in TXSD   Page 2 of 11




granted. ECF 58. A timeline provides the most efficient means for summarizing the

background information relevant to the current motion.

May 21, 2007:     Plaintiff and her now deceased husband, John Burke, executed a

                  $615,000.00 home equity note secured by deed of trust on

                  residential property located in Kingwood, Texas (Property).

June 15, 2009:    Plaintiff sued the Secretary of the Treasury, Timothy Geithner,

                  in state small claims court for matters related to her mortgage.

                  Defendant removed the case, Burke v. Geithner, Civil Action No.

                  4:09-cv-2572, to federal court and it was dismissed by joint

                  stipulation on February 16, 2010.

2010:             The Burkes stopped making payments on the loan, paying taxes,

                  and paying insurance.

Dec. 6, 2010:     The Burkes filed an Original Petition in state court to stop

                  foreclosure. Defendants removed the case to federal court where

                  it was styled Burke v. IndyMac Mort. Servs., Civil Action No.

                  4:11-cv-00341.

March 4, 2011:    Civil Action 4:11-cv-00341 was voluntarily dismissed without

                  prejudice.

April 29, 2011:   Deutsche Bank National Trust Co., in its capacity as assignee of

                  the note and deed of trust, filed Deutsche Bank Nat'l Tr. Co. v.


                                          2
  Case 4:24-cv-00897   Document 59      Filed on 01/23/25 in TXSD    Page 3 of 11




                  Burke, Civil Action No. 4:11-CV-01658, seeking an order

                  authorizing foreclosure.

Nov. 13, 2018:    The Burkes filed a state court lawsuit against the lawyers

                  involved in Civil Action No. 4:11-CV-01658, which was

                  removed to this Court where it was styled Burke v. Hopkins, Civil

                  Action No. 4:18-CV-04543.

Nov. 15, 2018:    The Burkes filed a state court lawsuit against Ocwen Loan

                  Servicing, LLC, which was removed to this Court where it was

                  styled Burke v. Ocwen Loan Servicing, LLC, Civil Action No.

                  4:18-CV-04544.

Nov. 29, 2018:    After lengthy litigation, including two appeals to the Fifth

                  Circuit, a final Order authorizing foreclosure was entered in Civil

                  Action No. 4:11-CV-01658.

March 19, 2019:   A final dismissal order was entered in Civil Action No. 4:18-CV-

                  04544.

March 18, 2020:   A final judgment was entered dismissing Civil Action No. 4:18-

                  CV-04543.

March 30, 2021: The Fifth Circuit denied Plaintiff’s consolidated appeal of the

                  dismissals of Civil Action No. 4:18-CV-04543 and 4:18-CV-

                  04544.


                                        3
  Case 4:24-cv-00897   Document 59      Filed on 01/23/25 in TXSD     Page 4 of 11




Aug. 9, 2021:     The Burkes filed a Complaint in federal court against Ocwen

                  Loan Servicing LLC and its lawyers, styled Burke v. Ocwen Loan

                  Servicing LLC et al., Civil Action No. 4:21-CV-02591.

Aug. 29, 2022:    The district court dismissed Civil Action No. 4:21-CV-02591,

                  warning the Burkes that “any additional litigation against

                  Defendants related to the Property or foreclosure proceedings

                  will be clear and compelling evidence of bad faith, such that the

                  imposition of sanctions and pre-filing injunctions would be just.”

                  ECF 50 at 8.

Oct. 30 , 2023:   The United States District Court in Minnesota dismissed for

                  improper venue a case the Burkes brought in that court in 2023

                  against PHH, the lawyers representing PHH in the Southern

                  District of Texas, and the Clerk of the Fifth Circuit. Burke v.

                  PHH Mortg. Co., Civil Action No. 0:23-cv-1119, 2023 WL

                  7126709 (D. Minn. Oct. 30, 2023).            The Eighth Circuit

                  summarily affirmed the dismissal. Burke v. PHH Mortg. Co.,

                  No. 23-3593, 2024 WL 2704150 (8th Cir. Feb. 5, 2024).

Dec. 5, 2023:     Joanna Burke filed a motion to intervene in an unrelated lawsuit

                  in Texas state court that is now pending in this district as Samuels




                                         4
  Case 4:24-cv-00897   Document 59     Filed on 01/23/25 in TXSD    Page 5 of 11




                  v. PHH Mortgage Corporation, Civil Action No. 4:23-CV-

                  04687.

Dec. 21, 2023:    Joanna Burke filed the instant action in Texas state court, which

                  was removed to this Court where it is styled Burke v. PHH

                  Mortgage Corp., Civil Action No. 4:24-CV-00897.

Dec. 28, 2023:    Joanna Burke filed a Chapter 13 Petition in Bankruptcy, Case

                  No. 23-35083.

Jan. 17, 2024:    Bankruptcy Case No. 23-35083 was dismissed for failure to

                  make necessary filings.

March 1, 2024:    Joanna Burke filed a Chapter 13 Petition in Bankruptcy, Case

                  No. 24-30885.

March 29, 2024:   Joanna Burke filed an adversary proceeding, Burke v. Deutsche

                  Bank Nat’l Trust Co. et al., Adversary No. 24-03056, in her

                  already dismissed Bankruptcy Case No. 23-35083.              The

                  adversary proceeding was dismissed on June 4, 2024.

April 1, 2024:    Bankruptcy Case No. 24-30885 was dismissed for failure to

                  make necessary filings.

Jan. 23, 2024:    Magistrate Judge Christina Bryan recommended PHH’s Motion

                  for Summary Judgment be granted and Civil Action No. 4:24-

                  CV-00897 be dismissed with prejudice based on res judicata and


                                        5
  Case 4:24-cv-00897       Document 59     Filed on 01/23/25 in TXSD   Page 6 of 11




                     Plaintiff’s failure to meet her burden to show any disputed issue

                     of material fact.

In addition to the above proceedings, Joanna Burke attempted unsuccessfully to

intervene in unrelated litigation in other jurisdictions, including Consumer Financial

Protection Bureau v. Ocwen Financial Corp., et al., Case No. 9:17-cv-80495, in the

United States District Court for the Southern District of Florida; Jose L. Parra v.

Ocwen Loan Servicing, LLC, Case No. 1:18-cv-5936, in the United States District

Court for the Northern District of Illinois; and In Re Syngenta AG MIR162 Corn

Litigation, Kenneth P. Kellogg, et al. v. Watts Guerra, LLP, et al., Case Nos. 2:18-

cv-2408 and 2:14-md-2591, in federal court in Kansas.

   II.      Legal Standards

         “A district court has jurisdiction to impose a pre-filing injunction to deter

vexatious, abusive, and harassing litigation.” Baum v. Blue Moon Ventures, LLC,

513 F.3d 181, 187 (5th Cir. 2008) (citations omitted). This authority includes the

authority to enjoin pro se litigants, from making vexatious filings with the court.

Ford v. Am. Homes 4 Rent, No. 4:22-CV-2162, 2023 WL 3215368, at *2 (S.D. Tex.

Apr. 24, 2023). The court’s authority is derived from the All Writs Act, 28 U.S.C.

§ 1651, or its inherent power. Matter of Carroll, 850 F.3d 811, 815 (5th Cir. 2017).

The district court’s decision to enter a pre-filing injunction is reviewed for abuse of

discretion. Baum, 513 F.3d at 187. In deciding whether a pre-filing injunction is


                                           6
  Case 4:24-cv-00897     Document 59      Filed on 01/23/25 in TXSD    Page 7 of 11




warranted, the Court must weigh the following factors: (1) the party's history of

litigation, in particular whether she has filed vexatious, harassing, or duplicative

lawsuits; (2) whether the party had a good faith basis for pursuing the litigation, or

simply intended to harass; (3) the extent of the burden on the courts and other parties

resulting from the party's filings; and (4) the adequacy of alternative sanctions.

Crear v. JPMorgan Chase Bank, N.A., 491 F. Supp. 3d 207, 219 (N.D. Tex. 2020)

(citing Baum, 513 F.3d at 189).

   III.   Analysis

      Based on the procedural history set forth above, Burke’s numerous judicial

and state bar complaints about lawyers and judges involved in her lawsuits, and

harassing social media posts, PHH asks the Court to declare Burke a vexatious

litigant and to impose on her a pre-filing injunction. ECF 28. The Court finds that

the four factors set out in Baum, 513 F.3d at 189, support imposition of a pre-filing

injunction against Ms. Burke.

      A. Ms. Burke has a history of filing vexatious, harassing, and duplicative
         lawsuits.

      Ms. Burke’s extensive litigation history regarding the Property is summarized

in the timeline set out above. Courts have consistently found her filings to be without

merit and dismissed her cases. In 2022, District Judge Alfred Bennett considered a

motion to declare Burke a vexatious litigant in Civil Action No. 21-CV-2591 (ECF

50). At that time, Burke’s litigation history included “four cases filed in or removed
                                          7
  Case 4:24-cv-00897     Document 59      Filed on 01/23/25 in TXSD    Page 8 of 11




to the Southern District of Texas, three appeals to the Fifth Circuit, four motions to

intervene in three unrelated lawsuits in three separate United States District Courts,

two appeals to the Eleventh Circuit based on the denial of said motions, . . . and a

writ to the Supreme Court.” Id. ECF 50 at 6. Judge Bennett found Burke’s conduct,

particularly her conduct after the Fifth Circuit’s 2018 decision awarding foreclosure,

to be of concern and noted there were “many indications of harassment in the

record,” but gave Burke “the benefit of the doubt” regarding good faith. Id. at 7.

Nonetheless, Judge Bennett issued an “emphatic” warning and notice “that any

additional litigation against Defendants related to the Property or foreclosure

proceedings will be clear and compelling evidence of bad faith such that the

imposition of sanctions and pre-filing injunctions would be just.” Id. The Court

finds that Ms. Burke has an extensive history of bringing meritless litigation that has

continued despite an “emphatic warning” from a district judge in this district. At

this time, the Court recommends that a pre-filing injunction be imposed.

      B. Ms. Burke has no good faith basis for repeatedly pursuing litigation
         regarding the Property.

      Judge Bennett’s “emphatic warning” in the August 29, 2022 Order did not

deter Ms. Burke from pursing litigation. Since then, she has filed a lawsuit suit in

Minnesota, multiple motions to intervene, an adversary proceeding in bankruptcy

court, and this action. Although PHH was not a named defendant in Civil Action

No. 21-CV-2591 before Judge Bennett, that litigation is part and parcel of the
                                          8
   Case 4:24-cv-00897     Document 59      Filed on 01/23/25 in TXSD      Page 9 of 11




litigation by Burke designed to prevent foreclosure on the Property. Even giving her

the benefit of the doubt as a pro se litigant, the filing of additional litigation after

Judge Bennett’s warning evidences bad faith and an intent to harass. See Matter of

Carroll, 850 F.3d at 816 (holding that “repeated attempts to litigate issues that have

been conclusively resolved” supports finding of bad faith).

       C. Ms. Burke’s vexatious litigation has placed a burden on the courts and
          other litigants.

       The burden Burke’s pattern of harassing litigation has placed on the Court is

demonstrated by the number of written rulings necessitated in this case alone,

including 6 written rulings issued on this one day. The litigation timeline shows the

extent of the burden, not only on this Court, but on courts across the country that

have no connection to the Property. Furthermore, PHH, the current Defendant, has

been burdened by Plaintiff’s continued litigation, as have various lawyers and

government officials in the court system that have come into contact with the Burke

litigation.   The excessive burden created by Ms. Burke’s continued vexatious

litigation supports the imposition of a pre-filing injunction.

       D. No alternative sanctions are likely to be adequate to deter Ms. Burke
          from filing frivolous litigation.

       Finally, the Court finds that Burke’s history of repetitive, frivolous filings, her

blatant disregard of court rulings, and her failure to heed an express warning that a

prefiling injunction would be imposed if further suits about the Property were filed,


                                            9
  Case 4:24-cv-00897     Document 59        Filed on 01/23/25 in TXSD   Page 10 of 11




all demonstrate that alternative sanctions are not sufficient to deter her behavior.

Thus, a pre-filing injunction is appropriate. See Ford v. Am. Homes 4 Rent, No.

4:22-CV-2162, 2023 WL 3215368, at *2 (S.D. Tex. Apr. 24, 2023) (recommending

pre-filing injunction against plaintiff who “has filed in this Court multiple times,

appealed to the 5th Circuit, and filed at ‘least five additional lawsuits in Texas state

court against the same defendants, based on the same facts’”), Memorandum and

Recommendation adopted, Civil Action No. 22-CV-2162 (slip op. June 30, 2023);

see also Montes v. Tibbs, No. CV H-23-1352, 2024 WL 1119419, at *1 (S.D. Tex.

Mar. 14, 2024) (entering a preclusion order because “[t]he relaxed standard for

interpreting the pleadings of pro se litigants does not allow for repeated meritless

litigation.”). Dismissal of this case is not an appropriate or sufficient alternative

sanction because the Court has already recommended this case be dismissed on the

merits. Furthermore, Ms. Burke has already been warned that imposition of a pre-

filing injunction was likely if she continued to file litigation related to the Property.

There is no reason to delay imposition of a pre-filing injunction because issuing

another warning is not likely to alleviate the burden that will be imposed by

additional litigation about the Property.

   IV.    Conclusion and Recommendation

      For the reasons stated above, the Court RECOMMENDS that Defendant’s

Motion (ECF 28) be GRANTED and Plaintiff Joanna Burke be declared a vexatious


                                            10
Case 4:24-cv-00897   Document 59   Filed on 01/23/25 in TXSD   Page 11 of 11
